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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                         CIVIL MINUTES - GENERAL
 Case No.         CV 17-8738-TJH(MRWx)                                               Date      NOVEMBER 9, 2020
 Title     Israel Baron v. Tetragon, Ltd. et al.,



 Present: The Honorable           TERRY J. HATTER, JR., UNITED STATES DISTRICT JUDGE


                   Yolanda Skipper                                                      Not Reported
                    Deputy Clerk                                                       Court Reporter


              Attorneys Present for Plaintiffs:                             Attorneys Present for Defendants:
                        Not Present                                                     Not Present

 Proceedings:       IN CHAMBERS - Order To Show Cause Re: Dismissal for Lack of Prosecution


The Court, on its own motion, orders plaintiff(s) to show cause in writing on or before DECEMBER 10, 2020 why this
action should not be dismissed for lack of prosecution. The Court will consider the filing of an appropriate response to
this Order To Show Cause, on or before the above date, as evidence that the matter is being prosecuted diligently.


It is plaintiff's responsibility to respond promptly to all Orders and to prosecute the action diligently, including filing
proofs of service and stipulations extending time to respond. If necessary, plaintiff(s) must also pursue Rule 55 remedies
promptly upon the default of any defendant. All stipulations affecting the progress of the case must be approved by this
Court. (Local Rules 7-1 and 7-2).


No oral argument of this matter will be heard unless ordered by the Court. The Order will stand submitted upon the filing
of a responsive pleading or motion on or before the date upon which a response by plaintiff(s) is due. This action will be
dismissed if the above mentioned documents are not filed by the date indicated above.


cc: all counsel

CV-90                                    CIVIL MINUTES - GENERAL                            Initials of Deputy Clerk YS
